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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

 Plaintiff,

 v.

 GREGORY STURGEON,

 Defendant.                                               No. 09-30098-DRH

                                     ORDER

 HERNDON, Chief Judge:

              Before the Court is a Motion to Remove Electronic Monitoring Device

 (Doc. 55) filed by Defendant Gregory Sturgeon. Defendant requests that this Court

 remove the electronic monitoring device attached to his ankle. The Government does

 not object to the motion. Based on the reasons in the motion, the Court GRANTS

 Defendant’s motion (Doc. 55) and ORDERS that the electronic monitoring device be

 removed from Defendant’s ankle.

              IT IS SO ORDERED.

              Signed this 9th day of March, 2010.



                                             /s/ DavidRHer|do|
                                             Chief Judge
                                             United States District Court
